                                          Case 4:23-cv-00204-KAW Document 11 Filed 04/07/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     LADY BENJAMIN CANNON,                               Case No. 23-cv-00204-KAW
                                   8                    Plaintiff,
                                                                                             ORDER TO SHOW CAUSE
                                   9             v.
                                                                                             Re: Dkt. No. 6
                                  10     BENICIA MARINA CORPORATION, et
                                         al.,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          On January 17, 2023, Plaintiff filed this civil action and application to proceed in forma

                                  14   pauperis. On January 28, 2023, the Court denied Plaintiff’s application to proceed in forma

                                  15   pauperis, and Plaintiff was ordered to pay the filing fee via four installment payments equaling

                                  16   $402.00. (Dkt. No. 6.) The payments were due on February 28, 2023, March 28, 2023, April 28,

                                  17   2023, and May 29, 2023. To date, Plaintiff has not made any of the payments.

                                  18          Accordingly, the Court ORDERS Plaintiff to show cause, by April 21, 2023, why the case

                                  19   should not be dismissed for failure to pay the filing fee. Additionally, Plaintiff shall make all

                                  20   outstanding payments due. Failure to respond to the order to show cause and pay the amounts due

                                  21   by the deadline will result in the Court reassigning the case to a district judge with the

                                  22   recommendation that the case be dismissed without prejudice for failure to pay the filing fee.

                                  23          IT IS SO ORDERED.

                                  24   Dated: April 7, 2023
                                                                                             __________________________________
                                  25                                                         KANDIS A. WESTMORE
                                  26                                                         United States Magistrate Judge

                                  27

                                  28
